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                              EXHIBIT G
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                                                                                            November 5, 2012
                                                                                      VIA E-MAIL AND MAIL

To:    New York State Board of Elections
       40 North Pearl Street, Suite 5
       Albany, NY 12207-2729

RE:    County Board of Elections’ Failure to Process Voter Registration Applications from the DMV’s Online
       System


Dear Commissioners,

        I write to inform you that Suffolk County has refused to process the registrations of Suffolk County
voters who have registered to vote via the Department of Motor Vehicles’ (DMV’s) online registration process,
and to request an immediate statewide Directive from the Board of Elections to ensure no eligible voter is
disenfranchised due to this unlawful policy and to avoid unnecessary litigation.

        As you are aware, New Yorkers have recently had the opportunity to register to vote via the DMV’s
integrated online registration process, available since August 2012.1 We have recently been informed that
Suffolk County has rejected applications submitted through the DMV’s system due to the presence of digitized
signatures, and counsel for the County has confirmed this policy.2

        As we have informed the Suffolk County Board of Elections, state and federal law provide no authority
for the county to reject such valid voter registration applications. Copies of two letters sent to the county are
attached, detailing the legal provisions under both New York statutes and the National Voter Registration Act
(NVRA) that require such forms to be processed. In sum, county boards are required to accept all valid voter
registration applications submitted through the DMV’s online system, which include a digitized version of the
original signature the registrant provided for his or her DMV file.3 This digitized signature is electronically
transmitted to county officials through a secure process; there is no loss of quality and no added risk of fraud.

1
  See Press Release, New York Department of Motor Vehicles, Governor Cuomo Announces Reforms to
Expand Access to Voter Registration (Aug. 16, 2012), available at http://www.dmv.ny.gov/press.htm.
2
  Conversation with Gail Solis, General Litigation Bureau Chief, Suffolk County (November 2, 2012).
3
  See PowerPoint Presentation by Ann Scott, NYS DMV Project Manager, New York State Electronic Capture
of Voter Registration Data, Slide 17 (requiring a registrant to “agree to permit NYS DMV to send my
County/City Board of Elections my most recent signature captured from my photo document”). It is our
understanding that before the signature from the DMV is appended, information entered by the voter is verified
against the DMV records, adding another layer of securing and reducing the risk of fraud.
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        The county boards’ duty to process such applications is clear. The law provides that the DMV “shall”
transmit voter applications to the “appropriate board of elections” and that the forms “shall be processed by the
board of elections” in the manner prescribed by New York Election Law § 5-210, or § 5-208.4 Section § 5-
210(8) in turn provides that if a voter registration application “shall contain substantially all the required
information indicating that the applicant is legally qualified to register and/or enroll as stated in his or her
application, the county board of elections shall transfer all information on such application to the appropriate
registration records.”5 This section does not mention any specific signature requirement, nor give local boards
any discretion to deny a voter registration application absent evidence of ineligibility to vote. In other words,
the boards are required to process valid voter registration forms and have no discretion to refuse to do so.

        While the digitized signatures are properly considered “original signatures” under the Election Law,
even if the county boards were to consider them electronic signatures, New York State Technology Law, as
amended by the 1999 Electronic Signatures and Records Act (ESRA), requires state officials to accept an
electronic signature as the equivalent of a lawful original signature.6

        Finally, as detailed in the attached letters, the NVRA also requires that each state establish application
procedures allowing individuals to register to vote when applying for a driver’s license with the state DMV.7
The NVRA requires each state “to ensure” that any eligible applicant who timely submits a valid voter
registration form to the DMV “is registered to vote”8 and provides for a private right of action in federal district
court for individuals not properly registered.9

        We ask the State Board to immediately issue a Directive to all county boards in the state requiring the
boards to fully process any application submitted through the DMV’s online process, and specifying that the
counties lack authority to consider such applications invalid due to the digitization of a voter’s signature. The
State Board plays a critical role in providing direction and clarification to ensure consistent, free, and fair
elections throughout the state of New York.10 In addition, while the Election Law vests the DMV with the
authority to design the DMV’s voter registration form11 and requires county election officials to accept voter
registration applications the DMV transmits, the State Board’s explicit ratification of the DMV’s process would
formalize the State Board’s approval of the specific online process.12 This would provide much-needed explicit
direction from the State Board to the county boards that the DMV’s online registration system is a formal and
valid part of the state’s voter registration system.


4
  N.Y. ELEC. LAW §§ 5-212(6), 5-212(9) (emphasis added).
5
  Id. § 5-210(8), see also Williams v. Salerno, 792 F.2d 323, 329 (2nd Cir. 1986).
6
  ESRA’s stated legislative purpose is to ensure “that persons who voluntarily elect to use electronic signatures
or electronic records can do so with confidence that they carry the same force and effect as non-electronic
signatures and records.” N.Y. STATE TECH. LAW § 540.1 (emphasis added).
7
  42 U.S.C. § 1973gg-2(a)(1).
8
  Id. § 1973gg-6(a)(1)(A).
9
  Id. § 1973gg-9(b).
10
   N.Y. ELEC. LAW § 3-102(1) (“In addition to the enforcement powers and any other powers and duties
specified by law, the state board of elections shall have the power and duty to…issue instructions and
promulgate rules and regulations relating to the administration of the election process…”).
11
   N.Y. ELEC. LAW § 5-212(2).
12
   See id.
                                                                                                                    2
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    We therefore ask that the State Board provide a Directive before Election Day to ensure no voter’s
registration was wrongfully denied simply for containing a digitized version of the voter’s original signature.
First, we ask that this Directive require state Boards of Election to create a list of any voter whose registration
was not processed due to a digitized signature, provide this list to poll workers, and instruct them to offer
affected individuals the opportunity to sign the poll register and vote a full ballot. As a back-up, in the event
any such voter is given an affidavit ballot, the Directive should also specify that affidavit ballots cast by voters
who submitted a complete voter registration through the DMV’s online system must be counted. Such a
Directive would be essential in stopping the unnecessary, and completely preventable, disenfranchisement of
New Yorkers who have taken advantage of the DMV’s public service.

       Thank you for your time and attention to this matter. I am fully available by cell phone and email to
discuss this further at any time; all my contact information is below.

Sincerely,




Lee Rowland, Counsel, Democracy Program
Brennan Center for Justice at NYU School of Law
161 Avenue of the Americas, Floor 12
New York, NY 10013
Direct line: (646) 292-8334; cell: (857) 204-7331
Fax: (212) 463-7308
lee.rowland@nyu.edu


ENCL:
        Letter from the Brennan Center to Suffolk County Commissioners (November 1, 2012)
        Letter from the Brennan Center to Suffolk County Bureau Chief (November 5, 2012)




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